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THoMAs & BETTS CoRPORATIoN and :
THoMAs & BETTS INTERNATIONAL, INC. ; Civil Action No. 2105-cv-23 13 MI/P

Plaintiffs,
v.
ARLINGTON INDUSTRIES, INC.,

Defendant.

ORDER GRANTING VOLUNTARY DISMISSAL WITHOUT PREJUDICE

IT APPEARING to the Court that Plaintiff has filed a Notice of Voluntary Dismissal
Without Prejudice prior to service by Defendant of a responsive pleading in this action.

I'I` IS, THEREFOR_E, ORDERED, ADJUDGED AND DECREED that this action is
dismissed without prejudice upon Plaiutiff’s Notice of Voluntary Dismissal Without Prejudice.

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J PHIPPS MCCALLA
ITED STATES DISTRICT JUDGE
WESTERN DISTRICT OF TENNESSEE

Date: A/°\' ,'.;1 2005
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Notice of Distribution

This notice confirms a copy of the document docketed as number 4 in
case 2:05-CV-023]3 Was distributed by faX, mail, or direct printing on
August 15, 2005 to the parties listed.

 

 

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Honorable J on McCalla
US DISTRICT COURT

